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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

WESTERN DIVISION
DALE STROUD and
KARI STROUD PLAINTIFFS
v. No. 4:12-cv-500-DPM
SOUTHWESTERN ENERGY
COMPANY and SEECO, INC. DEFENDANTS
ORDER

First, the Court regrets that it Was unable to decide the motion for
relief late last Weel< When it ripened. The Court Was in hearings in
criminal cases.

Second, the Court thought that the current Scheduling Grder, NQ
226-including the 20 April deadline-Was agreed. E.g., NQ 227 at 179.
lt seemed common ground that, after most of the phase ll fact discovery
had been done, the Strouds Would provide a crisp damage calculation,
clean-up discovery Would occur, and the experts could then opine on a
fixed factual record.

Thz`rd, We may have been captured by a label. The Scheduling
Order speaks of an election of remedy. The Court thought, though, that
What defendants sought (understandably), What the plaintiffs agreed
to provide (in candor), and What the Court ordered (in fairness), Was

some specificity on What damages Were sought and Why. This isn’t the

 

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paradigm case of a plaintiff choosing between inconsistent remedies,
such as specific performance versus damages for a breach of contract.

Fourth, as best the Court can tell, this case is once again hobbled
by a discovery problem-in particular, the delayed production of the
financial records about the Griffin Mountain comple)<, which contain
embedded information about revenue / benefits received from the
Campbell Well. The Strouds say they need that information to calculate
alleged damages Whether the proper measure is the benefit received
by the companies, or what the Strouds didn’t get, or some variation of
these measures is the deep issue, of course. But the Strouds are entitled
to pursue their benefit theory with fall backs in the alternative There
doesn't seem to be any contention of actual damages to the subsurface,
which narrows things a bit.

Fifth, in the circumstances, the Strouds' tentative election is fine.
The companies should continue the rolling production of financial
information and complete it by 4 May 2018. If that's impossible, let the
Court know. The Strouds are entitled to revise their damage calculation
when they have complete information in hand. The Court will wrestle
with the claims / measure of damages issues, assisted by what it knows
will be good briefs from the parties, in late summer.

* * *
Motion for relief, N<_) 23 7, denied without prejudice as moot and

with the caveats specified in this Order.

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So Ordered.

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D.P. Marshall ]r.
United States District ]udge

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